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4
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5

6                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
7
     THE UNITED STATES OF AMERICA,               ) No. 17-232 GEB
8
                     Plaintiff,                  )
9                                                ) STIPULATION AND [PROPOSED]
            v.                                   ) ORDER EXONERATING MR. LEVY’S
10                                               ) UNSECURED APPEARANCE BOND
                                                 )
11
     MAY LEVY,                                   )
12
                                                 )
                     Defendant.                  ) Judge: Hon. Garland E. Burrell, Jr.
13   ================================)
14
            On August 10, 2018, defendant May Levy was sentenced to 24 months of probation. As his
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16
     criminal case is now completed, the government, by and through AUSA Matt Yelovich, and

17   Defendant May Levy, by and through his appointed CJA attorney Michael Long, hereby stipulate that
18   Mr. Levy’s unsecured appearance bond (ECF document 21) should be exonerated.
19
     Dated: August 10, 2018                              Respectfully submitted,
20
                                                         /s/ Michael D. Long
21                                                       MICHAEL D. LONG
                                                         Attorney for May Levy
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23
     Dated: August 10, 2018                              McGREGOR SCOTT
24                                                       United States Attorney
25
                                                         /s/ Matthew Yelovich
26                                                       MATTHEW YELOVICH
                                                         Assistant U.S. Attorney
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1                                ORDER
2
            GOOD CAUSE APPEARING AND HAVING BEEN SHOWN, IT IS SO ORDERED.
3
            The Court orders that Mr. Levy’s unsecured appearance bond (ECF document 21) is
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     hereby exonerated.
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            Dated: August 13, 2018
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